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                                                            Defendant obtained a five-year statutory monopoly in
Motions, Pleadings and Filings                              the market for that drug. (Compl.¶ 45.)

                                                             The Complaint alleges that in 1995, Defendant
  United States District Court, E.D. Pennsylvania.          began to apply for patents on new anhydrous
                                                            polymorphs of paroxetine hydrochloride, which
            Robert NICHOLS, et al.                          patents began to issue in 1999 and which were
                      v.                                    submitted by Defendant to the FDA. (Compl.¶ 46.)
        SMITHKLINE BEECHAM CORP.,                           The Complaint further alleges that, once competitors
                                                            of Defendant began to file Abbreviated New Drug
                No. CIV.A. 00-6222.                         Applications ("ANDA") for generic bioequivalents of
                                                            Paxil in 1998, Defendant filed baseless patent
                    Jan. 29, 2003.                          infringement actions against those competitors,
                                                            which alleged that the bioequivalent drugs infringed
                                                            on the '723 Patent and the other, more recently issued
                                                            patents on forms of paroxetine hydrochloride owned
JOHN R. PADOVA , Judge.                                     by Defendant. (Compl.¶ ¶ 47-100.) Pursuant to the
                                                            Hatch-Waxman Act, 21 U.S.C. § 355, the filing, by a
                  MEMORANDUM                                branded drug patent owner, of a patent infringement
                                                            suit against a generic competitor automatically blocks
 *1 Plaintiffs have brought this antitrust suit against     the FDA's approval of the competitor's ANDA for up
SmithKline Beecham Corporation pursuant to                  to 30 months. (Compl.¶ ¶ 38- 39.) The Complaint
Section 16 of the Clayton Act, 15 U.S.C. § 26,              alleges that Defendant has violated the antitrust laws
alleging that Defendant has violated the federal            by filing fourteen baseless patent infringement
antitrust laws, particularly Section 2 of the Sherman       actions against generic competitors in order to block
Antitrust Act, 15 U.S.C. § 2, by stockpiling and            FDA approval of its competitors' ANDAs and, thus,
causing patents to be listed with the Food and Drug         indefinitely extend its market monopoly for Paxil.
Administration ("FDA") in a manner which has                (Compl.¶ 1.) The Complaint further alleges that,
enabled Defendant to indefinitely extend its market         because Defendant unlawfully extended its market
monopoly for Paxil by delaying FDA approval of              monopoly on Paxil, the class members paid higher
generic paroxetine hydrochloride. Before the Court is       prices for paroxetine hydrochloride than they would
Defendant's "Motion to Strike the Affidavit and             have otherwise paid and that Defendant was unjustly
Preclude the Testimony of Plaintiffs' Proffered             enriched by their overpayments.
Expert" (Docket No. 97). For the reasons which
follow, Defendants' Motion is denied.                        Plaintiffs have filed a motion to certify a class of
                                                            persons who purchased or paid for Paxil for
I. BACKGROUND                                               consumer use from January 1, 2001 to the present,
                                                            and a subclass of persons who purchased or paid for
 The Consolidated Amended Class Action Complaint            Paxil for personal use in certain states from January
(the "Complaint") alleges that Defendant was issued         1, 2001 to the present. A hearing has been scheduled
U.S. Patent No. 4,721,723 (the " '723 Patent") on           on Plaintiff's Motion for Class Certification for
January 26, 1988, which patent claims crystalline           February 12, 2003. Plaintiffs have offered the opinion
paroxetine hydrochloride hemihydrate and its use in         of Dr. Gary L. French to establish the existence of
treating depression. (Compl.¶ ¶        40-41.) On           class-wide impact of Defendant's alleged violations
December 29, 1992, the FDA approved Defendant's             of Section 2 of the Sherman Antitrust Act and to
New Drug Application ("NDA") for a drug                     establish that this impact may be established by
containing paroxetine hydrochloride hemihydrate             common proof and methodology.
which Defendant markets as Paxil. (Compl.¶ ¶ 42-
43.) Pursuant to the Federal Food, Drug, and                II. DISCUSSION
Cosmetic Act, 21 U.S.C. § 301, et seq., once the
FDA approved Defendant's NDA for Paxil,                     *2 To obtain class certification, Plaintiffs must meet


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all four requirements of Federal Rule of Civil                 methodologies to quantify the overcharge damages
Procedure 23(a) and at least one part of Federal Rule          and the unjust enrichment damages are available
of Civil Procedure 23(b). Baby Neal v. Casey, 43               from IMS America or Scott Levin, and from
F.3d 48, 55 (3d Cir.1994) (citing Wetzel v. Liberty            defendant in discovery.
Mutual Ins. Co., 508 F.2d 239 (3d Cir.1975)). The             (French Am. Aff. ¶ 14.)
four requirements of Rule 23(a) are satisfied only if:
   1) the class is so numerous that joinder of all            Defendant argues that the Court should strike Dr.
   members is impracticable, (2) there are questions         French's Amended Affidavit and preclude his
   of law or fact common to the class, (3) the claims        testimony at the hearing on Plaintiff's Motion for
   or defenses of the representative parties are typical     Class Certification because his opinion does not
   of the claims or defenses of the class, and (4) the       satisfy the requirements of Federal Rule of Evidence
   representative parties will fairly and adequately         702. Federal Rule of Evidence 702 states as follows:
   protect the interests of the class.                          If scientific, technical, or other specialized
 Fed.R.Civ.P. 23(a).                                            knowledge will assist the trier of fact to understand
                                                                the evidence or to determine a fact in issue, a
 Plaintiffs allege that the proposed class satisfies the        witness qualified as an expert by knowledge, skill,
requirements of Rule 23(a) and is maintainable                  experience, training, or education, may testify
pursuant to Rule 23(b)(2) which requires that: "the             thereto in the form of an opinion or otherwise, if
party opposing the class has acted or refused to act on         (1) the testimony is based upon sufficient facts or
grounds generally applicable to the class, thereby              data, (2) the testimony is the product of reliable
making appropriate final injunctive relief or                   principles and methods, and (3) the witness has
corresponding declaratory relief with respect to the            applied the principles and methods reliably to the
class as a whole" and Rule 23(b)(3) which requires              facts of the case.
that: "the court finds that the questions of law or fact      Fed.R.Evid. 702. In determining whether expert
common to the members of the class predominate               testimony is admissible pursuant to Rule 702, the
over any questions affecting only individual                 court must determine: "pursuant to Rule 104(a),
members, and that a class action is superior to other        whether the expert is proposing to testify to (1)
available methods for the fair and efficient                 scientific knowledge that (2) will assist the trier of
adjudication of the controversy." Fed.R.Civ.P.               fact to understand or determine a fact in issue. This
23(b)(2) and (3).                                            entails a preliminary assessment of whether the
                                                             reasoning or methodology underlying the testimony
 Dr. French has reached the following conclusions in         is scientifically valid and of whether that reasoning or
support of his opinion that Defendant's activity has         methodology properly can be applied to the facts in
had class-wide impact which may be established by            issue." Daubert v. Merrell Dow Pharm., Inc., 509
common proof and methodology:                                U.S. 579, 592-93, 113 S.Ct. 2786, 125 L.Ed.2d 469
  a. The relevant antitrust product market in this           (1993). The Court must make this determination in
  matter is likely limited to Paxil® and its generic         all cases where the "testimony reflects scientific,
  bioequivalents;                                            technical, or other specialized knowledge." Kumho
  b. Each member of both the proposed class and the          Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141, 119
  proposed sub-class has paid or will pay higher             S.Ct. 1167, 143 L.Ed.2d 238 (1999).
  prices for Paxil®, regardless of whether the class
  member would have purchased Paxil® or a generic             Under Daubert, the Court must perform the
  equivalent after January 1, 2001, than a class             following inquiry: "First of all, the proffered 'expert'
  member would have paid absent defendant's                  must be qualified to express an expert opinion....
  allegedly illegal conduct;                                 Secondly, the proffered expert opinion must be
  c. Because each class member has overpaid or will          reliable." In re TMI Litig., 193 F.3d 613, 664 (3d
  overpay for Paxil®, each class member has or will          Cir.1999). In determining the reliability of the expert
  be adversely impacted or economically injured;             testimony, the Supreme Court and the United States
  d. A feasible methodology exists to calculate the          Court of Appeals for the Third Circuit ("Third
  aggregate overcharge damages to the indirect               Circuit") have provided a number of factors to offer
  purchaser class;                                           guidance to the Court's inquiry. These factors
  e. A feasible methodology exists to calculate the          include:
  amount by which defendant has allegedly been                 (1) whether a method consists of a testable
  unjustly enriched; and                                       hypothesis; (2) whether the method has been
  *3 f. The data required to implement the                     subjected to peer review; (3) the known or

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  potential rate of error; (4) the existence and             whether [the expert's] methodology, as proposed, will
  maintenance of standards controlling the                   comport with the basic principles of econometric
  technique's operation; (5) whether the method is           theory, will have any probative value, and will
  generally accepted; (6) the relationship of the            primarily use evidence that is common to all
  technique to methods which have been established           members of the proposed class." In re Polypropylene
  to be reliable; (7) the qualifications of the expert       Carpet Antitrust Litigation, 996 F.Supp. 18, 26
  witness testifying based on the methodology; and           (N.D.Ga.1997). The United States Court of Appeals
  (8) the non-judicial uses to which the method has          for the Second Circuit has explained that the district
  been put.                                                  court's function at this stage is "not to determine
 In re Paoli Railroad Yard PCB Litigation, 35 F.3d           whether plaintiffs had stated a cause of action or
717, 742 n. 8 (3d Cir.1994) ("Paoli II"). This list is       whether they would prevail on the merits, but rather
not exhaustive, and the inquiry under Daubert                whether they had shown, based on methodology that
remains flexible; each factor need not be applied in         was not fatally flawed, that the requirements of Rule
every case. See, e.g., Elcock v. Kmart Corp., 233            23 were met." In re Visa Check/Master Money
F.3d 734, 746 (3d Cir.2000); Schieber v. City of             Antitrust Litig., 280 F.3d 124, 135 (2d Cir.2001),
Philadelphia, Civ.A.No. 98-5648, 2000 U.S. Dist              cert. denied --- U.S. ----, 122 S.Ct. 2382, 153 L.Ed.2d
LEXIS 17952, at *6-7 (E.D.Pa. Dec. 13, 2000)                 201 (2002); see also, In re Monosodium Glutamate
("These factors are non-exclusive and no one of the          Antitrust Litigation, 205 F.R.D. 229, 234-235
factors weighs more heavily than another; the                (D.Minn.2001) ("Even assuming that there are
approach to determining the admissibility of expert          problems with Dr. Beyer's methodology, however,
testimony is a flexible one.") (citing Daubert, 509          Defendants' attack on that methodology is premature.
U.S. at 594).                                                The Daubert inquiry requires a more searching
                                                             analysis than is appropriate at this preliminary stage")
 *4 Defendant argues that Dr. French's opinion, as           (citations omitted); Thomas & Thomas Rodmakers,
demonstrated in his Amended Affidavit and                    Inc. v. Newport Adhesives and Composites, Inc., 209
deposition testimony, fails to satisfy the requirements      F.R.D. 159, 162-63 (C.D.Ca.2002) ("It is clear to the
of Rule 702 and Daubert because, in reaching his             Court that a lower Daubert standard should be
opinion, Dr. French ignored key facts regarding the          employed at this stage of the proceedings. Courts
impact of insurance coverage on injury to the class;         have declined to engage in a Daubert analysis at the
failed to present a methodology for determining              class certification stage of an action on the ground
which class members have been injured by                     that an inquiry into the admissibility of the proposed
Defendant's conduct (which Defendant proposes                expert testimony under Daubert would be an
would require a highly individualized examination of         inappropriate consideration of the merits of the
each class member's benefit plan, buying habits, and         plaintiff's claims.") (citations omitted); Midwestern
likelihood of receiving prescriptions for Paxil); relied     Machinery v. Northwest Airlines, Inc., Civ.No. 97-
on an unsupported assumption that Defendant would            1438, 2001 WL 34049897, at * 2 (D.Minn. Jan.18,
have dropped the price of Paxil upon the entry into          2001) ("The application of the Daubert test, however,
the market of a generic competitor; and offered no           is somewhat limited at the stage of class certification.
method for identifying which class members would             Daubert is helpful to the extent that it can assist the
switch to a generic form of Paxil if one were                Court in preventing the entrance of methodology so
available. Defendant also argues that Dr. French's           apparently flawed. It would be inappropriate,
benchmark methodology for calculating aggregate              however, for a court to look beyond the methodology
damages is not reliable because there are members of         and critique the prospective results of its application
the proposed class who may not have suffered any             to a complete set of data. A party and its experts
injuries and because Dr. French has not selected the         should not be expected to have fully evaluated all
benchmarks he would use to calculate damages or              data at the preliminary stage of class certification.")
explained what factors he would consider in choosing         (citations omitted). The Court finds, accordingly, that
benchmarks.                                                  Dr. French's opinion, as presented in his Amended
                                                             Affidavit and testimony, need not satisfy a full
 Dr. French's opinion need not, however, satisfy the         Daubert examination at this stage of the litigation. In
requirements of Daubert to be admissible with                determining whether Dr. French's Amended Affidavit
respect to class certification. At this stage of the         should be stricken and his testimony precluded, in
proceeding, the Court does not consider whether an           connection with Plaintiff's Motion for Class
expert witness's opinion would be admissible                 Certification, the Court will examine whether Dr.
pursuant to Daubert, "the Court simply exa mines             French has identified a generally accepted

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methodology for determining impact which is                    Paxil®.
applicable to the class, whether this methodology              32. Even those class members who would have
uses evidence common to all class members, and                 continued to purchase Paxil® after generic entry in
whether his opinion has probative value. See In re             January 2001 have also been economically injured,
Polypropylene Carpet Antitrust Litig., 996 F.Supp. at          although to a lesser extent. As explained above,
26; In re Visa Check/Master Money Antitrust Litig.,            current manufacturers of brand-name drugs lower
280 F.3d at 135.                                               their prices, or at least do not increase them as
                                                               much, when competitive generics are introduced.
 Dr. French opines that Defendant's prevention of the          Thus, in all likelihood, SmithKline would have
sale of generic bioequivalents to Paxil resulted in the        lowered its prices for Paxil® or not increased them
following common impact to members of the                      as much in response to actual or impending generic
nationwide end-payer class and the indirect purchaser          entry in order to limit the sales it would have lost to
sub-class:                                                     Apotex initially and to all generic manufacturers
  *5 29. Based on the above descriptions of pricing            eventually. Because SmithKline's patent lawsuits
  in the pharmaceutical industry and the literature on         have allowed it to avoid generic competition and
  the impact of generic entry into pharmaceutical              the need to restrain its Paxil® prices, it has not
  markets, the impact on members of the nationwide             restrained them. Thus even those class members
  end-payer class and the indirect purchaser sub-              who would have remained loyal purchasers of
  class can be explained. Both classes include                 Paxil® after generic availability in January 2001
  consumers and TPPs [Third Party Payers] which                have also been adversely impacted by paying
  [sic] pay for Paxil®. Consumers in both classes              higher Paxil® prices than would have existed
  also include individuals who would have switched             absent delayed generic entry.
  from Paxil® to generic paroxetine hydrochloride,            (French Am. Aff. ¶ ¶ 30-32.) At his deposition, Dr.
  as well as individuals who would have continued to        French based these conclusions upon economic
  use Paxil® even after the introduction of generics.       literature and the fact that the entry of generic
  The large price differential between Paxil® and           competitors into the markets for other brand name
  even Apotex's first generic would have provided a         drugs has resulted in similar effects. He also stated
  powerful economic incentive for Paxil® users to           that he would need to have additional information
  switch to the generic. In addition, formulary             obtained through merits discovery to determine
  management by TPPs, as well as state laws                 whether Defendant would lower its price in response
  requiring, encouraging, or allowing switching             to generic entry into the market. (French Dep. at 140-
  without a new prescription, also mean that most           165.)
  Paxil® users would have switched to the generics.
  30. In the absence of SmithKline's patent                  *6 Defendant contends that Dr. French's assumption
  infringement lawsuits against Apotex and other            that all class members were damaged by Defendant's
  generic drug manufacturers, first Apotex and then         conduct because the price of Paxil would drop after
  others would have introduced bioequivalents to            generic entry into the market is baseless. Defendant
  Paxil®....                                                relies on the opinion of its own expert, Dr. Richard T.
  31. In the absence of SmithKline's allegedly illegal      Rapp, that it does not intend to drop the price of
  conduct, Apotex would have entered the market for         Paxil, or raise it more slowly than otherwise, after the
  paroxetine hydrochloride on or about January 1,           entry of a generic bioequivalent into the market. Dr.
  2001, with prices to direct purchasers (i.e.,             Rapp bases his opinion on a review of Defendant's
  wholesalers and large chain retailers) significantly      business plans and the testimony of its personnel.
  lower than SmithKline's Paxil® prices to the same         (Rapp Rpt. at 18.) He also concludes that Defendant's
  direct purchasers. Given the highly competitive           intention is consistent with economic theory. (Rapp
  nature of wholesale and retail markets for                Rpt. at 19.) Dr. French maintains that Dr. Rapp's
  pharmaceutical products, much, if not all, of the         criticisms of his opinions are "unfounded and/or
  savings wholesale and retail markets would have           inappropriate." (French Reply Aff. ¶ 3.) The fact that
  achieved by purchasing from Apotex would have             Dr. Rapp and Dr. French disagree about whether
  been passed through to consumers and TPPs. All            Defendant would reduce the price of Paxil, or raise
  those who would have switched to generic                  the price more slowly, after the entry of generic
  paroxetine hydrochloride were obviously adversely         competitors, is not sufficient reason to strike Dr.
  affected because SmithKline's conduct deprived            French's affidavit or disallow his testimony at the
  them of the opportunity to have purchased                 class certification hearing, as, at this stage of the
  substantially lower priced generics in place of           litigation, the Court "may not weigh conflicting

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expert evidence or engage in statistical dueling of         opinion has not been offered in support of an
experts." In re Visa Check/Master Money Antitrust           assessment of individual damages but, rather, to
Litig., 280 F.3d at 135 (citation omitted).                 assist the Court in determining, for purposes of class
                                                            certification, whether there exists common evidence
 Defendant also argues that the aggregate method of         available to the class as a whole with respect to the
calculating damages proposed by Dr. French is               issue of class-wide impact of Defendant's allegedly
inappropriate in this case because there is an              anti-competitive activity. "In order to show impact is
unknown percentage of class members who have not            susceptible to class-wide proof, Plaintiffs are not
been injured. Defendant suggests that there are four        required to show that the fact of injury actually exists
classes of class members who were not injured by its        for each class member." In re Cardizem CD Antitrust
conduct: (1) class members whose insurance plans            Litig., 200 F.R.D. 297, 307 (E.D.Mich.2001). If
provide the same co-pay for brand name and generic          Plaintiffs are able to establish the existence of
drugs; (2) class members whose benefit plans have           generalized evidence "which will prove or disprove
different co-pays for generic and brand name drugs          this injury element on a simultaneous class-wide
but who would not have switched to a generic version        basis, then there is no need to examine each class
of Paxil (Dr. French estimated that 20-50% of               members' individual circumstance as Defendant
consumers stay with the brand name drug after a             claims. Such an examination will relate to the
generic enters the market); (3) class members who           quantum of damages; not the fact of the injury." Id.
pay cash but would not switch to a generic version of       (citation omitted). Therefore, the Court cannot find
Paxil; and (4) class members who would not be               that the possibility that some class members may not
prescribed Paxil after generic entry into the market        have been damaged by Defendant's alleged
because of a decrease in promotional efforts by             anticompetitive activity means that Dr. French's
Defendant. Defendant relies on Newton v. Merrill            opinion would not be probative of any of the issues
Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154           before the Court with respect to Plaintiff's Motion for
(3d Cir.2001), in which the Third Circuit affirmed the      Class Certification.
denial of class certification in a Section 10(b)
securities case in which individual issues regarding         *7 Defendant also argues that Dr. French's
whether class members suffered economic losses              benchmark damages calculation methodology is
from the manner in which their trades were                  flawed because he has not specifically stated the
transacted predominated over issues common to the           percentage of class members who would switch to a
class. The Third Circuit found, in Newton, that "[t]he      generic form of Paxil and because he does not
ability to calculate the aggregate amount of damages        identify all of the benchmarks he would use in
does not absolve plaintiffs from the duty to prove          estimating damages. (Def.'s Mem. at 15-17.) Dr.
each investor was harmed by the defendants'                 French describes his methodology in his Amended
practice." Id. at 188. In Newton, class certification       Affidavit as follows:
was denied because "[d]etermining which class                  37. The damages to class members equal the sum
members were economically harmed would require                 of the overcharges they have and will pay from
an individual analysis into each trade and its                 January 1, 2001 until such time as generic
alternatives. The individual questions, therefore, are         manufacturers are allowed to sell generic
overpowering." Id. at 89. Defendant argues that, like          paroxetine hydrochloride and establish their market
in Newton, an unknown, but substantial, number of              shares. Such damages would be calculated by
class members in this case have not been injured and,          applying an overcharge percentage or amount per
therefore, Dr. French's attempt to calculate damages           unit to the dollar or unit volume of purchases by
on a class-wide basis would not help the Court in              class members. The overcharge amount or
determining whether to certify the class.                      percentage can be determined by comparing actual
                                                               Paxil® prices to the lower Paxil® and generic
 The issue presently before the Court, however, is not         retail and TPP prices that would have exis ted since
whether each of the millions of sales of Paxil to              January 1, 2001. The physical or dollar volumes of
indirect purchasers during the proposed class period           Paxil® purchases since January 1, 2001 can be
resulted in damage to each individual indirect                 obtained from SmithKline and then forecast to the
purchaser, but whether Dr. French has a sufficient             end of the damage period. The proportions of such
basis for opining that the class members suffered a            Paxil® volumes that would have been transferred
common impact from Defendant's alleged attempts to             to generics because of switching can also be
indefinitely prolong its monopoly power in the                 determined. All of these estimates and calculations
market for paroxetine hydrochloride. Dr. French's              can be made by using a competitive benchmark,

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  which is a well accepted practice in antitrust cases.        competitive benchmarks in calculating damages.
  38. Generally in situations involving overcharges,          (French Am. Aff. ¶ 40, footnotes omitted.)
  the determination of the extent to which prices
  were higher than they would have been in the                The two benchmarks proposed by Dr. French for
  absence of anticompetitive activities, the shares of       calculating damages in this case, (1) a comparable
  the market the various sellers would have had              market not affected by anticompetitive activity and
  absent the anticompetitive conduct, and other              (2) the market in which the anticompetitive activity
  circumstances that would have existed but for the          occurred in a period of time either before or after the
  wrongdoing is done by means of a competitive               effects of the conduct (French Am. Aff. ¶ 38), are
  benchmark. There are well established approaches           standard methods for proving damages in an antitrust
  or typical benchmarks for determining the                  case. Park v. El Paso Board of Realtors, 764 F.2d
  characteristics of the "but-for" world. One                1058, 1068 (5th Cir.1985) ("Generally, an antitrust
  benchmark consists of a comparable market not              plaintiff can prove lost profits by two methods: (1)
  affected by the anticompetitive activity. Another          the before and after method, which involves
  would be the market in which the anticompetitive           comparing records of profits earned by the plaintiff
  conduct occurred, but in a period of time either           prior to the impact of the violation with those
  before or after the effects of the conduct.                subsequent to it; and (2) the yardstick test, which
  *8 39. Either of these standard benchmarks might           consists of studies of the profits of firms closely
  be employed to calculate damages in this case. If,         comparable to plaintiff's.") (citations omitted).
  before trial, generic manufacturers are able to            Moreover, Plaintiffs are not required to have chosen
  introduce generic paroxetine hydrochloride and             one particular method for calculating damages, or a
  begin establishing their market positions, then an         particular benchmark product, or to have determined
  after-period benchmark would be created. A                 the exact percentage of consumers who would have
  number of comparable markets could also serve as           switched to generic paroxetine hydrochloride, at this
  benchmarks for calculating damages. These                  stage in the litigation. In re Linerboard Antitrust
  markets reflect the price and market share effects         Litigation, 203 F.R.D. 197, 217 (E.D.Pa.2001), aff'd,
  of generic entry on brand-name drugs over time.            305 F.3d 145 (3d Cir.2002) (determining that
 (French Am. Aff. ¶ ¶ 37-39.) Dr. French also                plaintiffs are not required "to have selected a
opined that benchmarks could be obtained from data           particular econometric model for demonstrating
provided by Defendant with respect to its own sales          impact (or proving damages) at the class certification
and marketing forecasts and material which can be            stage."). Dr. French has, therefore, demonstrated the
obtained from outside data sources IMS America or            existence of evidence common to the class which can
Scott Levin. (French Am. Aff. ¶ ¶ 40-41, French              be utilized to determine the appropriate benchmark.
Dep. at 21-23.) He further states that Defendant
currently prepares similar studies of comparable              The Court finds that Dr. French has identified a
markets for use in market forecasting:                       generally accepted methodology for calculating
  40. In her 30(b)(6) deposition, Ms. Bonnie                 impact in an antitrust suit and that Dr. French
  Rossello, who has had product management                   proposes the use of evidence common to the class to
  responsibilities fox Paxil® for many years,                determine impact and damages in the nature of
  essentially explained how the experience of one            overcharges or unjust enrichment on a class-wide
  product or group of products can be employed to            basis. The Court further finds that Dr. French's
  predict or forecast what another product might do          opinion has probative value with respect to class
  in its market. She did not refer to the other products     certification. Accordingly, Defendant's Motion is
  as competitive benchmarks, but rather described            denied.
  them as "market analogs" and indicated that the
  Marketing         Analytics        department       of     *9 An appropriate order follows.
  GlaxoSmithKline has historically developed and
  continually develops market analogs by which to                                   ORDER
  forecast the sales, prices, and market shares of
  GlaxoSmithKline products. Moreover, exhibits to             AND NOW, this 29th day of January, 2003, upon
  Ms. Rossello's deposition illustrate the decline in        consideration of Defendant's Motion to Strike the
  sales or market shares of brand-name drugs when            Affidavit and Preclude the Testimony of Plaintiff's
  generics were introduced. Thus, defendant's own            Proffered Expert (Docket No. 97) and the papers filed
  documents provide considerable insight into which          by both parties with respect thereto, IT IS HEREBY
  other pharmaceutical markets could serve as                ORDERED that the Motion is DENIED.

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